                     Case 1:06-cr-00114-CG-N Document 169 Filed 12/30/14 Page 1 of 1
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                                                       Southern District of Alabama
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                    8QLWHG6WDWHVRI$PHULFD
                               Y
                   IRENE SANCHEZ-COLIN                                          &DVH1R       06-00114-001
                                                                                8601R 09416-003
'DWHRI2ULJLQDO-XGJPHQW                            11-15-2006
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
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VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
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IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI 324                 PRQWKVis reduced to 262 months                           

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                          11-15-2006          VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED                                                     Callie V.S. Granade                      Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                               DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                               Government, ou=Federal Judiciary,

2UGHU'DWH            December 30, 2014                              U.S. District Judge                      email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                               Date: 2014.12.30 12:33:27 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH         November 1, 2015                                                     United States District Judge
                     (if different from order date)                                                Printed name and title
